1        James L. Day, WSBA #20474                          HONORABLE FREDERICK P. CORBIT
         Thomas A. Buford, WSBA #52969                                            Chapter 9
2        Bush Kornfeld LLP
         601 Union Street, Suite 5000                    HEARING DATE: THURS., MARCH 7, 2019
3        Seattle, WA 98101-2373                          HEARING TIME: 2:00 P.M.
         Telephone: (206) 292-2110                       LOCATION: 904 W. RIVERSIDE, 3RD FLOOR
4        Facsimile: (206) 292-2104                       RESPONSE DATE: THURS., FEBRUARY 28, 2019
         jday@bskd.com
5        tbuford@bskd.com
6        Narendra Ganti, Trust Administrator
         of the Kennewick Liquidation Trust
7

8                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF WASHINGTON
9
         In re
10                                                             No. 17-2025
         KENNEWICK PUBLIC HOSPITAL
11       DISTRICT,                                             OMNIBUS OBJECTION TO
                                                               CLAIMS AND NOTICE OF
12                                      Debtor.                HEARING
13
         TO:                        ABILITY NETWORK
14                                  AGILENT TECHNOLOGIES, INC.
                                    ALATTAR, FADI
15                                  COFFEY COMMUNICATIONS
                                    DEPUY ORTHOPAEDICS, INC.
16                                  DEPUY SPINE – JOHNSON & JOHNSON
                                    DEPUY SYTHES SALESS, INC.
17                                  FEDEX CORPORATE SERVICES, INC.
                                    MANSOUR, MOUHAMAD
18                                  MANSOUR, MOUHAMAD
                                    ORTHOFIX INC.
19                                  PSS UROLOGY, INC.
                                    SEIU 1199NW HEALTHCARE
20                                  TRYON CLEAR VIEW GROUP, LLC
         AND TO:                    THE CLERK OF THE COURT
21       AND TO:                    THE HONORABLE FREDERICK P. CORBIT
         HEARING DATE:              THURSDAY MARCH 7, 2019
22       HEARING TIME:              2:00 P.M.
         RESPONSE DUE:              THURSDAY, FEBRUARY 28, 2019
23

                                                                              B USH K ORNFELD           L LP
         OMNIBUS OBJECTION TO CLAIM AND NOTICE OF                                     LAW OFFICES
         HEARING – Page 1                                                        601 Union St., Suite 5000
                                                                              Seattle, Washington 98101-2373
                                                                                 Telephone (206) 292-2110
                                                                                 Facsimile (206) 292-2104
     2339 20181 da3058121y
      17-02025-FPC9          Doc 1090   Filed 01/30/19   Entered 01/30/19 16:55:15      Pg 1 of 5
1        LOCATION:                      904 W. RIVERSIDE AVENUE, 3RD FLOOR COURTROOM,
                                        SPOKANE, WASHINGTON 99201
2
               Narendra Ganti, solely in his capacity as the Trust Administrator of the
3        Kennewick Liquidation Trust, has filed an objection to your claim in this bankruptcy
         case.
4
               Your claim may be reduced, modified, or eliminated. You should read these
5        papers carefully and discuss them with your attorney, if you have one.
6               If you do not want the court to eliminate or change your claim, then you or your
         attorney must file with the Court and or before February 28, 2019 a written response to
7        the objection, explaining your position.
8              If your written response is mailed to the court for filing, you must mail it early
         enough so that the court will receive it on or before the date stated above; mail to the
9        following address:
10           U.S. Bankruptcy Court Clerk, Room 304, 904 W. Riverside Avenue, Spokane,
         WA 99201.
11
               The above-named creditor/claimant’s claim(s) is objected to upon the grounds
12       indicated below:
13                                            OBJECTION TO CLAIM

14               Narendra Ganti, solely in his capacity as the Trust Administrator of the

15       Kennewick Liquidation Trust objects to claims as detailed below and states:

16               1.          Mr. Ganti files this objection pursuant to Fed. R. Bankr. P. 3007.

17               2.          On July 27, 2017, the Court entered an order at Docket Entry No. 104,

18       which established December 27, 2017, as the final date by which creditors must file

19       general unsecured claims.

20               3.          On June 20, 2018, the Court entered an order at Docket Entry No 981,

21       which confirmed the Debtor’s Fourth Amended Plan. On Page 31 of the Court’s order,

22       the Court established that a claim for damages related to a rejection of an executory

23       contract must be filed on or before thirty days after the effective date of the plan. On

                                                                                 B USH K ORNFELD           L LP
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1        August 3, 2018, the Debtor filed a notice that the plan became effective on that date.
2        Docket Entry No. 1,023. Therefore, a claim for damages related to a rejection of an
3        executory contract was required to be filed on or before September 2, 2018.
4                3.          Mr. Ganti objects to the following claims on the following grounds:
5        Claimant                     Basis for Claim            Amount of          Basis for Objection
                                                                 Claim
6
         Ability Network              Proof of Claim No. 228     $1,536.00          Untimely. Claim
7                                                                                   filed on January 8,
                                                                                    2018.
8
         Agilent                      Proof of Claim No. 229     $22,382.36         Untimely. Claim
9        Technologies, Inc.                                                         filed on January 30,
                                                                                    2018.
10
         Alattar, Fadi                Proof of Claim No. 170     Unknown            This claim has been
11                                                                                  satisfied during the
                                                                                    course of this case.
12
         Coffey                       Proof of Claim No. 242     $15,000.00         Untimely lease
13       Communications                                                             rejection claim.
                                                                                    Claim filed
14                                                                                  October 12, 2018.
15       DePuy                        Listed by the Debtor       $396,094.60        Duplicated by
         Orthopaedics, Inc.           (Docket Entry No. 93,                         Claim Number 202
16                                    Page 12)
17       DePuy Spine –                Listed by the Debtor       $71,886.75         Duplicated by
         Johnson & Johnson            (Docket Entry No. 93,                         Claim Number 202
18                                    Page 12)
19
         DePuy Sythes                 Listed by the Debtor       $113,406.31        Duplicated by
         Saless, Inc.                 (Docket Entry No. 93,                         Claim Number 202
20
                                      Page 12)
21
         FedEx Corporate              Proof of Claim No. 236     $11,101.85         Untimely. Claim
22
         Services, Inc.                                                             filed on July 2,
                                                                                    2018.
23

                                                                                B USH K ORNFELD           L LP
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1        Claimant                  Basis for Claim             Amount of          Basis for Objection
                                                               Claim
2
         Mansour,                  Proof of Claim No. 171      Unknown            This claim has been
3        Mouhamad                                                                 satisfied during the
                                                                                  course of this case.
4
         Mansour,                  Proof of Claim No. 177      Unknown            This claim has been
5        Mouhamad                                                                 satisfied during the
                                                                                  course of this case.
6                                                                                 Additionally, it
                                                                                  duplicates Proof of
7                                                                                 Claim No. 171.
8        Orthofix Inc.             Proof of Claim No. 231      $3,800.00          Untimely. Claim
                                                                                  filed on April 17,
9                                                                                 2018.
10       PSS Urology, Inc.         Proof of Claim No. 241      $17,496.39         Untimely. Claim
                                                                                  filed on
11                                                                                September 4, 2018.
12       SEIU 1199NW               Proof of Claim No. 216      Unknown            This claim has been
         Healthcare                                                               satisfied during the
13                                                                                course of this case.
14       Tryon Clear View          Proof of Claim No. 230      $36,614.00         Untimely. Claim
         Group, LLC                                                               filed on February 8,
15                                                                                2018. Further, there
                                                                                  are no documents to
16                                                                                support the claimed
                                                                                  amount.
17

18               Therefore, the Trustee objects to the Claims listed above and requests
19       disallowance of the same.
20               DATED this 30th day of January, 2019.
21                                                         BUSH KORNFELD LLP
22                                                         By /s/ Thomas A. Buford
                                                             Thomas A. Buford, WSBA #52969
23                                                           James L. Day, WSBA #20474
                                                                              B USH K ORNFELD           L LP
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                                                            jday@bskd.com
4                                                           tbuford@bskd.com
                                                           Attorneys for Narendra Ganti, Trust
5                                                          Administrator of the Kennewick
                                                           Liquidation Trust
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                                                                              B USH K ORNFELD           L LP
         OMNIBUS OBJECTION TO CLAIM AND NOTICE OF                                     LAW OFFICES
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